Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 1 of 25




             EXHIBIT B
      Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 2 of 25




             EXPERT REBUTTAL REPORT OF RENEE KNAKE JEFFERSON

1. I am the Doherty Chair in Legal Ethics and a tenured Professor of Law at the University of
   Houston Law Center. Rusty Hardin & Associates L.L.P., counsel for Jackson Walker L.L.P.
   (“Jackson Walker”), has retained me to render opinions concerning questions of legal ethics
   and professional conduct responsibilities in the matter of No. 23-00645 (EVR); In re
   Professional Fee Matters Concerning the Jackson Walker Law Firm; In the United States
   Bankruptcy Court for the Southern District of Texas, Houston Division.

                                        INTRODUCTION

2. I have been asked to provide an Expert Rebuttal Report containing my opinions with respect
   to the opinions expressed by Jonathan C. Lipson (“Mr. Lipson”), who has been retained by the
   United States Trustee for Region 7 (“U.S. Trustee”) in the above-referenced matter. My
   opinions are limited to those covering matters of legal ethics and professional conduct
   responsibilities owed by Jackson Walker. I offer no opinions related to the obligations of
   Jackson Walker, if any, under the Texas Partnership Act, the United States Bankruptcy Code,
   the Federal Rules of Bankruptcy Procedure, or Rule 6 of the Rules of Discipline of the Local
   Rules for the United States District Court for the Southern District of Texas. I offer no opinions
   regarding the actions or obligations of former Judge David R. Jones (“former Judge Jones”) or
   former Jackson Walker equity partner Elizabeth Freeman (“Ms. Freeman”).

3. I have no first-hand knowledge of the facts in this matter. For purposes of preparing my report,
   I have reviewed the materials set forth in Third Amended Exhibit A. I reserve the right to
   reexamine or supplement my report based on new information.

                                       QUALIFICATIONS

4. My opinions in this matter are based upon my education, training, and experience over the past
   twenty-five years including, but not limited to, my experience in private and public law
   practice as well as in teaching judicial and lawyer ethics for nearly two decades.

5. I am an attorney and a law professor. I hold the Joanne and Larry Doherty Chair of Legal Ethics
   and I am a tenured Professor of Law at the University of Houston Law Center, where I have
   been a member of the faculty since 2016.

6. I graduated from the University of Chicago Law School in 1999. Following law school, I
   practiced law from 1999-2005 at the law firms Mayer Brown and Hunton & Williams, and as
   an assistant city attorney for Charlottesville, Virginia.

7. Since 2006, I have been involved in research, writing, teaching, speaking, professional service
   activities, and consulting relating to judicial and lawyer ethics and the legal profession. I began
   my academic career at Michigan State University College of Law in 2006. I left my
   appointment as the Foster Swift Professor of Legal Ethics and Co-Director of the Frank J.
   Kelley Institute of Ethics in 2016 to join the University of Houston Law Center.




                                                                                              Page 1
      Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 3 of 25




8. I have researched and written about the professional responsibilities of judges and lawyers in
   numerous scholarly articles, essays, and news media. I am also a co-author of several books
   including the Foundation Press casebook LEGAL ETHICS FOR THE REAL WORLD: BUILDING
   SKILLS THROUGH CASE STUDY (2nd Edition 2022), the West Academic Publishing casebook
   PROFESSIONAL RESPONSIBILITY: A CONTEMPORARY APPROACH (5th Edition 2023), and the
   Thomson West HANDBOOK OF TEXAS LAWYER AND JUDICIAL ETHICS: ATTORNEY TORT
   STANDARDS, ATTORNEY ETHICS STANDARDS, JUDICIAL ETHICS STANDARDS, RECUSAL AND
   DISQUALIFICATION OF JUDGES (2024 Edition).

9. I served as the elected Chair of the Section on Professional Responsibility for the Association
   of American Law Schools in 2020, after holding the offices of Secretary, Treasurer and Chair-
   Elect. From 2014-16, I was an appointed Reporter for the American Bar Association (“ABA”)
   Presidential Commission on the Future of Legal Services. I am an elected member of the
   American Law Institute and a fellow of the American Bar Foundation. I am a subject matter
   expert for the Multistate Professional Responsibility Exam (“MPRE”). The MPRE is a national
   bar examination which largely tests bar applicants’ knowledge of the ABA Model Rules and
   how they apply in various factual situations. Consequently, as one of the drafters for several
   years, I have developed a comprehensive knowledge of these rules.

10. I am frequently invited to lecture about judicial and lawyer ethics to bar associations,
    continuing education groups, and similar audiences of judges and lawyers. On occasion, I
    testify as an expert witness and render other services on issues of legal ethics and professional
    conduct. In this capacity, I often submit expert reports and/or declarations, and I have been
    deposed on multiple occasions. Twice I have testified before the Texas Supreme Court Special
    Court of Review in support of the successful reversal of discipline faced by judges. I also have
    testified before Congress about judicial recusal and before the federal judiciary about ethics
    reform.

11. When serving as an expert witness, in this case and others, I render opinions in my individual
    capacity and do not speak on behalf of any of the entities with which I am, or have been,
    associated.

12. More details about my background, scholarly publications, and professional experience are
    contained in my curriculum vitae, which is available as Exhibit B to this report.

                                     THE LIPSON OPINIONS

13. As an initial matter, Mr. Lipson is not an expert on legal ethics or professional responsibility
    generally, nor is he an expert on the Texas Disciplinary Rules of Professional Conduct (“Texas
    Disciplinary Rules”). Based on his CV and report he has no prior experience interpreting and
    applying the Texas Disciplinary Rules to another lawyer’s past conduct.

14. Before discussing Mr. Lipson’s specific opinions, there are two overarching problems with his
    report to address.




                                                                                              Page 2
      Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 4 of 25




              Jackson Walker Took Reasonable Actions to Address Information
                      Received About the Freeman/Jones Relationship

15. The first overarching problem with the Lipson Report is that he rests his opinions on what he
    describes as “JW’s persistent pattern of ignoring, obfuscating and concealing” the relationship
    between Ms. Freeman and former Judge Jones. Lipson Report, p. 31. To the contrary, as
    discussed below, the record shows that Jackson Walker took reasonable actions upon receipt
    of information about an intimate relationship between Ms. Freeman and former Judge Jones.

16. Mr. Lipson offers his opinions about Jackson Walker’s obligations based upon the benefit of
    hindsight after Ms. Freeman finally revealed in March 2022 that she was in a rekindled intimate
    relationship with former Judge Jones.

17. The actions taken by Jackson Walker, however, must be assessed based upon the information
    known at the time, not upon what was later admitted by Ms. Freeman after years of deception.
    Jackson Walker took the following actions in 2018, 2021, and 2022:

    In 2018, Jackson Walker Requested Conflicts Disclosures Before Hiring Ms. Freeman

18. Before hiring Ms. Freeman in 2018, Jackson Walker requested her disclosure of any possible
    conflicts of interest. See Lateral Questionnaire, Cowlishaw Dep. Ex. 64. She stated: “I am not
    currently representing clients. I am unable to work on any matter currently pending before
    Judge Jones.” Id. Her disclosure was based solely upon her work as a law clerk to former Judge
    Jones.

19. Ms. Freeman never disclosed to Jackson Walker during the interview process, or in the three
    years that followed, “that she had in the past – or was currently having – an intimate
    relationship with former Judge Jones. Nor did she disclose that she lived with former Judge
    Jones or that they co-owned residential property.” Jackson Walker LLP’s Response in
    Opposition to the United States Trustee’s Amended and Supplemental Motion for (1) Relief
    from Judgment Pursuant to Federal Rule of Civil Procedure 60(B)(6) and Federal Rule of
    Bankruptcy Procedure 9024 Approving the Retention and Compensation Applications of
    Jackson Walker LLP, (2) Sanctions, and (3) Related Relief, Case No. 20-32519, Nov. 13, 2023,
    ¶ 28 (“Jackson Walker Response in Opposition”).

   In 2021, Jackson Walker Confronted Ms. Freeman About the Allegation of an Intimate
         Relationship, Notified the Court of the Allegation, and Imposed Safeguards
                     After Ms. Freeman Disclosed a Prior Relationship

20. Jackson Walker first learned on Saturday, March 6, 2021, that a pro se litigant had alleged via
    email an intimate relationship between Ms. Freeman and former Judge Jones. See Jackson
    Walker Response in Opposition ¶ 33.




                                                                                            Page 3
       Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 5 of 25




21. That same day, Jackson Walker began taking steps to address the alleged relationship. See
    Cowlishaw Dep. 81:13-25, 82:1-13 (“Q. When did the investigation start? A. March the 6th,
    2021.” Id. at 82:12-13.).1

22. These steps included a discussion with Ms. Freeman. She denied the charge of a current
    intimate relationship but admitted to a past relationship which Jackson Walker understood
    from Ms. Freeman had ended prior to the onset of the COVID-19 pandemic in March 2020.
    See Jackson Walker Response in Opposition ¶ 34; see also Freeman Interview, Dec. 6, 2023,
    208:16-21 (“Q. Did you admit to a relationship with the judge? A. I am sure that I admitted
    that there had been a relationship. And at the time we were not intimate. We were not on good
    terms when this was happening.”).2

23. Jackson Walker notified the Southern District of Texas Bankruptcy Court (“Court”) of the
    allegation on Monday, March 8, 2021. See Jackson Walker Response in Opposition ¶ 36. The
    email was “filed under seal given the personal nature of the allegations and related concerns
    regarding [the pro se litigant’s] erratic disposition and credibility . . . and the fact that Ms.
    Freeman had expressly denied the existence of any current romantic relationship.” Id.

24. During the week of March 8, 2021, Jackson Walker also consulted with a prominent ethics
    expert, Peter Jarvis of Holland & Knight, to determine what actions, if any, the firm should
    take given Ms. Freeman’s acknowledgement of a prior intimate relationship with former Judge
    Jones. See id. ¶ 37; Cowlishaw Dep. 106:2-14. The consultations with Holland & Knight
    continued over several months.

25. Holland & Knight provided its opinions, and Jackson Walker set up safeguards surrounding
    Ms. Freeman’s future involvement with matters pending before former Judge Jones. See
    Jackson Walker Response in Opposition ¶ 37. These safeguards included instructing Ms.
    Freeman that she could not work on any matters assigned to former Judge Jones for two years
    through March 2022, and deducting from Ms. Freeman’s compensation any profits associated

1
  While the U.S. Trustee and Mr. Lipson have referred to Jackson Walker’s actions, particularly the firm’s questioning
of Ms. Freeman, as an “investigation,” Jackson Walker has disagreed with the U.S. Trustee’s use of the term to
describe the firm’s activities. (“Q. who was -- who, if anyone, was in charge of investigating what Ms. Freeman was
telling the firm? A. About what? Q. About the relationship with Judge Jones or any potential misrepresentations that
she may have made to the firm. A. After Mr. Van Deelen sent his email to Mr. Cavenaugh with the attached anonymous
memo, Mr. Cavenaugh immediately contacted the general counsel and the Management Committee became involved
and the general counsel hired outside counsel. And I quibble with the word investigation.” Forbes Dep. (Aug. 20,
2024) 101:1-13.

2
  Ms. Freeman continued to deny an ongoing intimate relationship when she was interviewed by the U.S. Trustee in
2023. See Freeman Interview, Dec. 6, 2023, 43:14-17 (“You know, I’ll tell you that by, you know, ‘16/‘17 we were
in an intimate relationship.”); 66:17-22 (“I’ll tell you that, you know, certainly by ’15, you know, ’14, ’15 we were in
. . . an intimate relationship.”); 177:22-25 (“if it was ‘17 or beginning of ‘18, but I know that early, you know,
January/February of ‘18 we were – crosswise I know we were not intimate in that time”); 176:21-22 (“we were not
intimate during [the pandemic]”); 170:1-4 (“But then it was still very uncertain and not – you know, there was another
long period of lack of intimacy until end of July ‘22.”); 218:10-25 (“I know that there was a question about whether
we had a continued romantic relationship. And I said no because we didn’t. Not at that time. But . . . I didn’t tell them
about the house. . . . Because I didn’t view it as my house.”).




                                                                                                                Page 4
      Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 6 of 25




   with work that was performed by Jackson Walker in cases pending before former Judge Jones.
   See id. ¶ 37.

26. Jackson Walker also obtained written confirmation from Ms. Freeman in August 2021 that she
    (1) was not in an ongoing intimate relationship with former Judge Jones and would not be in
    the future; (2) did not own a home with him; and (3) did not live with him. See id. ¶ 38;
    Cowlishaw Dep. 136:16-25, 137:1-21, Exhibit 53, pp. 103-107.

27. Jackson Walker determined “[a]t the time Ms. Freeman acknowledged the existence of this
    prior relationship, there was nothing for JW to disclose or supplement. The challenged cases
    implicated during this time period were filed post-COVID and had concluded prior to Ms.
    Freemans later admission to JW, on March 30, 2022, that the relationship with former Judge
    Jones had resumed.” Jackson Walker Response in Opposition ¶ 34, fn. 18.

   In 2022, Jackson Walker Determined that Ms. Freeman Could Not Remain at the Firm
         After She Acknowledged that the Intimate Relationship Had Rekindled and
                      Refused to Accurately Disclose the Relationship

28. In February 2022, a Jackson Walker non-bankruptcy partner received new, credible
    information that Ms. Freeman and former Judge Jones were living together. See id. ¶ 46.

29. In March 2022, a member of Jackson Walker’s management team confronted Ms. Freeman
    with this information. She initially denied any intimate relationship. However, on March 30,
    2022, she admitted to a “rekindled” relationship but denied living with former Judge Jones and
    did not reveal co-ownership of residential property. Id. ¶¶ 46-48.

30. Jackson Walker again consulted with Holland & Knight, and received an opinion letter
    indicating that either the relationship must be disclosed or that Ms. Freeman must leave the
    firm. The opinion letter was written with the assumption that Ms. Freeman would remain at
    Jackson Walker. See Cooper Dep. 126:14-17 (“this letter . . . discusses conduct if [Ms.
    Freeman] . . . was going to remain at the law firm”); Jarvis & Harvey Letter to Jackson Walker,
    June 2, 2022, p. 4 (“If we are correct in our opinion that the lawyer must either do or say
    something about the conflict or withdraw, the next question is how to best raise the issue with
    opposing counsel and the court if the lawyer chooses not to withdraw.”). Specifically, the letter
    opined on “the duties of a lawyer at a firm who knows that the judge presiding over a case in
    which the lawyer and the firm represents a party has a conflict of interest that the judge was
    and is required to disclose under 28 U.S.C. Section 455 but has not disclosed.” Id. at p. 1. The
    opinion letter concluded that if Ms. Freeman remained at Jackson Walker, “disclosure by the
    lawyer to firm clients about the judicial conflict is necessary.” Id. at p. 4.

31. Ms. Freeman retained Tom Kirkendall (“Mr. Kirkendall”) to represent her during these
    negotiations. See Kirkendall Dep. 22:3-9 (“I represented Ms. Freeman with regard to
    negotiations with Jackson & Walker and conversations with Holland & Knight from, I believe
    it was, April 8th of 2022 through June 28th of 2022. I did not represent Ms. Freeman in
    connection with her withdrawal from Jackson Walker.”).




                                                                                              Page 5
      Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 7 of 25




32. As part of these efforts, Mr. Kirkendall contacted former Judge Jones to discuss a disclosure.
    See id. 89:18-21 (“Q. Who asked you to call Judge Jones? A. Nobody. . . . I did that on my
    own initiative. I wanted to understand what his position was.”). Former Judge Jones informed
    Mr. Kirkendall that he believed no disclosure was required. See id. 88:17-21 (“Judge Jones
    told me that he had concluded, after much research, that he believed he did not have an
    obligation to disclose the relationship because Ms. Freeman was not his spouse and that Ms.
    Freeman and he did not have a household account.”). Mr. Kirkendall’s proposed solution to
    force former Judge Jones to either disclose or recuse was to ask Jackson Walker to include a
    disclosure regarding the relationship between Ms. Freeman and former Judge Jones. See id. at
    88:1-89:21.

33. While Jackson Walker was concerned about a disclosure, it endeavored to work with Ms.
    Freeman to prepare an appropriate disclosure, but determined that her proposed disclosure was
    “insufficient, inadequate, and misleading.” Jackson Walker Response in Opposition ¶¶ 52-63;
    see also Cowlishaw Dep. 141:6-9 (“. . .the only disclosure that Ms. Freeman was willing to
    make was of a close, personal relationship with Judge Jones, that we thought, in context, would
    be a half-truth. . .”); Cooper Dep. 130:10-14 (“My view of that proposal was that it was totally
    inadequate. It did not satisfy the requirements of the judge under the recusal statute. And we
    had concerns that it was deceptive and that it did not fully, uh, report what we thought the
    relationship was.”).

34. As a consequence, by early June, Jackson Walker coordinated Ms. Freeman’s departure from
    the firm, effective December 1, 2022. See Jackson Walker Response in Opposition ¶ 58;
    Cowlishaw Dep. 190:8-10 (“. . .instead of making a – you know, a half-truth disclosure, the
    firm decided to separate itself from Ms. Freeman”).

35. The separation was documented in a jointly-executed Confidential Withdrawal Agreement
    (“Agreement”). See Freeman Dep. Ex. 45. The Agreement acknowledged that Ms. Freeman
    and Jackson Walker might work together in the future as co-counsel, but specifically excluded
    any matters before former Judge Jones. Id.

36. Mr. Lipson inaccurately characterizes the Agreement as Jackson Walker having, in his words,
    “decided to further bury evidence of the Relationship.” Lipson Report, p. 16. His analysis
    misconstrues the Agreement’s terms, which do not require confidentiality regarding the
    relationship itself. Rather, the Agreement keeps confidential “all preceding discussions
    between [Ms. Freeman and Jackson Walker], regarding [the] relationship.” Freeman Dep. Ex.
    45. Mr. Lipson’s conclusion also ignores that the Agreement expressly provides for disclosure
    “as otherwise may be required by law” in addition to other specific circumstances. Id. To the
    extent that Mr. Lipson asserts Jackson Walker is required by the Texas Disciplinary Rules or
    other law to disclose information covered by the Agreement, the firm is expressly permitted to
    do so.




                                                                                             Page 6
      Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 8 of 25




         The Texas Disciplinary Rules Apply to Individual Lawyers, Not Firms, and
     Do Not Create a Private Cause of Action or Other Remedy Beyond Lawyer Discipline

37. The second overarching problem with the Lipson Report is that he conflates and confuses
    various duties that may be applicable to individual lawyers as equally applicable to law firms.
    Mr. Lipson also discusses potential requirements under federal bankruptcy law and the Texas
    Disciplinary Rules interchangeably even though they involve differing obligations and
    consequences.

38. The Texas Disciplinary Rules are clear that they do not establish standards of civil liability or
    create a private cause of action:

            These rules do not undertake to define standards of civil liability of lawyers
            for professional conduct. Violation of a rule does not give rise to a private
            cause of action nor does it create any presumption that a legal duty to a
            client has been breached. Likewise, these rules are not designed to be
            standards for procedural decisions.

TEX. DISCIPLINARY R. PROF. CONDUCT, Preamble ¶ 15.

39. Texas courts, including the Texas Supreme Court, have consistently held that the Texas
    Disciplinary Rules do not create a private cause of action or establish the standard of care. See
    e.g., Joe v. Two Thirty Nine Joint Venture, 145 S.W.3d 150, 159 (Tex. 2004) (“In addition, we
    note that the Rules do not define standards of civil liability of lawyers for professional
    conduct.”); Fleming v. Kinney ex rel. Shelton, 395 S.W.3d 917, 929 (Tex. App. —Houston
    [14th Dist.] 2013, pet. filed) (expert’s testimony “crossed the border of inadmissibility” when
    she told the jury, among other things, that violation of certain disciplinary rules necessarily
    established breach of fiduciary duty); Adams v. Reagan, 791 S.W.2d 284, 291 (Tex. App.—
    Fort Worth 1990, no writ) (“Violation of a disciplinary rule does not give rise to a private cause
    of action, nor does it create any presumption that a legal duty to a client has been breached.”);
    Greenberg Traurig of New York, P.C. v. Moody, 161 S.W.3d 56, 96 (Tex. App. —Houston
    [14th Dist.] 2004, no pet.) (“the Texas Disciplinary Rules . . . do not establish the standard of
    care or civil liability for attorneys”).

40. The standard of care when evaluating legal malpractice, for example, is one of a “reasonably
    prudent attorney.” Cosgrove v. Grimes, 774 S.W.2d 662, 665 (Tex. 1989). According to the
    Texas Supreme Court: “An attorney who makes a reasonable decision in the handling of a case
    may not be held liable if the decision later proves to be imperfect.” Id.

41. The Texas Disciplinary Rules apply to individual lawyers, not law firms, which is made clear
    in the Preamble describing “A Lawyer’s Responsibilities” and discussing the scope of the rules
    in the context of the role of a lawyer. TEX. DISCIPLINARY R. PROF. CONDUCT, Preamble ¶¶ 1-
    16.

42. Having addressed the overarching problems with Mr. Lipson’s report, I will now turn to his
    specific opinions related to the Texas Disciplinary Rules.




                                                                                              Page 7
       Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 9 of 25




                       Lipson Opinion 1: “Imputation of EF’s Conflict to JW”

43. Mr. Lipson opines that Ms. Freeman was prevented under Texas Disciplinary Rule 1.06(b)(2)3
    from representing clients before former Judge Jones because of their intimate relationship. See
    Lipson Report, p. 26. He further opines that her personal conflict is imputed to Jackson Walker
    under Texas Disciplinary Rule 1.06(f),4 and seems to suggest that this should somehow apply
    retroactively even though the existence of a rekindled intimate relationship was unknown to
    Jackson Walker until March 2022. Id.

44. Mr. Lipson cites no direct authority to support his interpretation of how Texas Disciplinary
    Rule 1.06 should be applied in this matter. Instead, he discusses an ethics opinion addressing
    whether married attorneys (or members of their law firms) may represent opposing parties in
    the same civil matter. See Lipson Report, pp. 26-27, quoting Tex. Pro. Ethics Comm., Formal
    Op. 666 (2016) (“Formal Op. 666”).

45. While Formal Op. 666 might be relevant in assessing whether or not the intimate relationship
    between Ms. Freeman and former Judge Jones should be treated as the equivalent of husband
    and wife under the Texas Disciplinary Rules, the opinion offers no concrete guidance on how
    that relationship should be addressed by a law firm when a member of the firm conceals an
    intimate relationship with a judge. Moreover, the opinion provides that determining the
    existence of a “Rule 1.06(b)(2) conflict of interest” will “[i]n most cases . . .be a question of
    fact.” Formal Op. 666, p. 2. Had Ms. Freeman and/or former Judge Jones disclosed the true
    nature of their relationship, the sort of fact-specific inquiry contemplated by Formal Op. 666
    could have occurred to determine whether or not their relationship constituted a conflict of
    interest under Texas Disciplinary Rule 1.06 that would be imputed to all Jackson Walker
    lawyers. But they did not.

46. After Ms. Freeman revealed the rekindled intimate relationship to Jackson Walker in 2022,
    Jackson Walker continued to impose the safeguards already in place (i.e. prohibiting Ms.
    Freeman from working on or receiving any income from any matter pending before former
    Judge Jones) while it sought additional guidance from Holland & Knight. After endeavoring
    unsuccessfully to work with Ms. Freeman on an appropriate disclosure as discussed above,
    Jackson Walker determined that she could not remain at firm. Her departure removed any
    potential conflict under Texas Disciplinary Rule 1.06.




3
  Texas Disciplinary Rule 1.06(b)(2) provides that absent informed consent from any materially affected client(s), “a
lawyer shall not represent a person if the representation of that person . . . (2) reasonably appears to be or become
adversely limited by the lawyer’s or law firm’s responsibilities to another client or to a third person or by the
lawyers’ or the law firm’s own interests.”
4
  Texas Disciplinary Rule 1.06(f) provides: “If a lawyer would be prohibited by this Rule [1.06(b)(2)] from engaging
in particular conduct, no other lawyers while a member or associated with that lawyer’s firm may engage in that
conduct.”




                                                                                                             Page 8
     Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 10 of 25




                       Lipson Opinion 2: “What Should JW Have Done?”

47. Mr. Lipson appears to concede that Jackson Walker’s actions until 2022 were reasonable. See
    Lipson Report, p. 28 (“Taking the facts most favorably to them, [Jackson Walker] had no actual
    knowledge of the Relationship until March 6, 2021; even then they were unfortunately gulled
    by EF . . . . The fact that the allegations came initially from Mr. Van Deelan – alleged to be a
    serial litigant and perhaps unstable – would surely call for lenity.”). But Mr. Lipson then
    contends that Jackson Walker should have taken one or more of four actions after receiving
    credible information in 2022 about the rekindled intimate relationship between Ms. Freeman
    and former Judge Jones. None of his suggestions are required by the Texas Disciplinary Rules.

48. First, Mr. Lipson says that Jackson Walker should have followed the advice from Holland &
    Knight regarding disclosure of the relationship as a conflict of interest. See Lipson Report, p.
    29. Because Ms. Freeman declined to make an adequate disclosure, Jackson Walker instead
    resolved any potential or actual conflict by requiring her departure from the firm and her
    withdrawal from any matters pending before former Judge Jones where Jackson Walker’s
    clients were involved.

49. Mr. Lipson might counter that Jackson Walker nonetheless should have disclosed Ms.
    Freeman’s admission about a prior intimate relationship in 2021 and/or her admission about a
    rekindled relationship in 2022. The duty to communicate with a client is governed by Texas
    Disciplinary Rule 1.03, which provides:

           (a) A lawyer shall keep a client reasonably informed about the status of a
           matter and promptly comply with reasonable requests for information.

           (b) A lawyer shall explain a matter to the extent reasonably necessary to
           permit the client to make informed decisions regarding the representation.

   American Bar Association (“ABA”) Formal Opinion 481 (Apr. 17, 2018) (“Formal Op. 481”)
   analyzing ABA Model Rule 1.4, which is similar to Texas Disciplinary Rule 1.03, offers
   guidance on whether an “error” that occurred during the representation of a client must be
   disclosed. While the opinion does not specifically address whether the failure to disclose a
   personal conflict of interest by a lawyer constitutes an “error,” the opinion’s analysis offers
   guidance on when a lawyer is required to disclose information to a client about past issues.

50. As to former clients, there is no disclosure obligation. See 48 Tex. Prac., Tex. Lawyer & Jud.
    Ethics § 6:6 (2024 ed.) (discussing Formal Op. 481).

51. As to current clients:

           The ABA concluded that while the lawyer is not under a duty to disclose all
           such errors, s/he is under a duty to do so if the error is “material” . . . . The
           opinion goes on to provide: “An error is material if a disinterested lawyer
           would conclude that it is (a) reasonably likely to harm or prejudice a client;




                                                                                               Page 9
     Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 11 of 25




           or (b) of such a nature that it would reasonably cause a client to consider
           terminating the representation even in the absence of harm or prejudice.”

   Id. (quoting ABA Formal Op. 481).

52. Under this analysis, Jackson Walker could reasonably conclude in 2021 that disclosure of a
    lawyer’s prior intimate relationship was not required. In 2022, once the rekindled relationship
    was revealed, Jackson Walker endeavored to obtain an accurate disclosure from Ms. Freeman.
    This effort was unsuccessful. Jackson Walker required her departure. Jackson Walker could
    reasonably conclude that it was not necessary to disclose the rekindled relationship when it
    was negotiating the language of a potential disclosure with Ms. Freeman. And, once she
    departed, the disclosure of a former lawyer’s rekindled intimate relationship was not required.

53. Second, Mr. Lipson says that Jackson Walker should have engaged in an independent
    investigation to verify Ms. Freeman’s assurances that the relationship was not ongoing, for
    example searching property records. See Lipson Report, p. 29. The Texas Disciplinary Rules,
    however, do not require this sort of investigation. An inquiry into a law firm partner’s romantic
    relationship is also a sensitive matter. See, e.g., Cowlishaw Dep. 137:11-14 (“It’s highly
    unusual for partners in the firm to be discussing sexual conduct of another partner with her in
    – in the midst of a matter such as this.”). Jackson Walker relied upon Ms. Freeman’s verbal
    statement in March 2021, and her written confirmation six months later, that any intimate
    relationship with former Judge Jones had ended more than a year prior to the initial allegation
    in 2021, and Jackson Walker was not required under the Texas Discipline Rules to engage in
    independent verification.

54. Third, Mr. Lipson agrees that Ms. Freeman’s departure from Jackson Walker was “an
    appropriate step.” Yet, he critiques the firm for continuing to work with and recommending
    her for matters unrelated to cases pending before former Judge Jones, calling this “mind-
    boggling.” Lipson Report, p. 29. He cites nothing in the record to support his critique. Mr.
    Lipson’s position ignores the explanation from Managing Partner Wade Cooper in his
    deposition testimony about the length of time it took to orchestrate Ms. Freeman’s separation.
    His explanation bears upon Jackson Walker’s reasonable determination to potentially continue
    working with her in matters not pending before former Judge Jones. Mr. Cooper testified:




                                                                                            Page 10
     Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 12 of 25




   Cooper Dep. 135:5-25, 136:1-16.

55. Fourth, Mr. Lipson says Jackson Walker “had a commitment to supplement those 2014
    statements that were submitted during the acknowledged period of overlap in the Relationship
    and EF’s employment at JW (i.e., March 2018 to March 2020).” See Lipson Report, p. 29. I
    offer no opinion whether or not there was a duty to disclose under the federal bankruptcy rules
    in the first instance, or a duty to supplement under the federal bankruptcy rules.




                                                                                          Page 11
     Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 13 of 25




                            Lipson Opinion 3: “The Mediation Cases”

56. Mr. Lipson concludes his report with a discussion of the cases where former Judge Jones served
    as a mediator. He cites no Texas Disciplinary Rules in the context of his evaluation of Jackson
    Walker’s conduct in this context. Rather, his opinion rests on rhetorical questions and
    generalized critiques about the use of judges as mediators while at the same time
    acknowledging that “the use of judges as mediators is not uncommon or necessarily
    problematic.” Lipson Report, p. 30

                                          CONCLUSION

57. For the reasons discussed above, it is my opinion that Jackson Walker took reasonable steps at
    the time it hired Ms. Freeman and as it learned new information about the nature of the
    relationship between Ms. Freeman and former Judge Jones in 2021 and again in 2022. These
    steps included:

        2018
        • Jackson Walker requested a detailed conflicts disclosures before hiring Ms. Freeman.

        2021
        • Jackson Walker confronted Ms. Freeman about the allegation of an intimate
           relationship with former Judge Jones.
        • Jackson Walker notified the Court of the allegation.
        • Jackson Walker consulted with an ethics expert
        • Jackson Walker imposed safeguards (i.e. prohibiting work on or income from matters
           pending before former Judge Jones) after Ms. Freeman disclosed a prior intimate
           relationship.

        2022
        • Jackson Walker again confronted Ms. Freeman with the new information it received
           about her living with former Judge Jones.
        • Jackson Walker again consulted with ethics experts about how to proceed.
        • Jackson Walker endeavored to obtain an appropriate disclosure from Ms. Freeman
           about the relationship.
        • Jackson Walker determined that Ms. Freeman could not remain at the firm after she
           had acknowledged that the intimate relationship was rekindled, and she had refused to
           accurately disclose the relationship.

58. It is also my opinion that the Texas Disciplinary Rules apply to lawyers individually, not to
    law firms as entities, and they cannot serve as the basis for civil liability, the standard of care,
    or a private civil cause of action.

59. I may supplement or revise this Expert Rebuttal Report as further information and issues are
    provided to me.




                                                                                               Page 12
    Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 14 of 25




                                                          December 3, 2024
______________________________________                    __________________

RENEE KNAKE JEFFERSON                                     DATE
DOHERTY CHAIR IN LEGAL ETHICS &
PROFESSOR OF LAW
UNIVERSITY OF HOUSTON LAW CENTER




                                                                      Page 13
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 15 of 25
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 16 of 25
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 17 of 25
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 18 of 25



37.   Gastar Exploration Inc., Dkt. No. 215, Application of Debtors-in-     11/30/18
      Possession to Employ Jackson Walker LLP as Co-Counsel for
      Debtors
38.   Parker Drilling Company, Dkt. No. 253, Application of Debtors-in-     01/13/19
      Possession to Employ Jackson Walker LLP as Co-Counsel for
      Debtors
39.   Weatherly Oil & Gas, Dkt. No. 170, Application of Debtor-in-          03/30/19
      Possession to Employ Jackson Walker LLP as Counsel for The
      Debtor Nunc Pro Tunc to the Petition Date
40.   Jones Energy, Inc., Dkt. No. 121, Debtors’ Application for Entry of   04/23/19
      an Order Authorizing the Retention and Employment of Kirkland &
      Ellis LLP and Kirkland & Ellis International LLP as Attorneys for
      the Debtors and Debtors in Possession Effective Nunc Pro Tunc to
      the Petition Date
41.   Jones Energy, Inc., Dkt. No. 125, Application of Debtors and          04/23/19
      Debtors-in-Possession to Retain Jackson Walker LLP as Co-Counsel
      and Conflicts Counsel for the Debtors and Debtors-In-Possession
42.   Sanchez Energy Corporation, Dkt. No. 269, Application of Debtors      09/06/19
      and Debtors-in-Possession to Retain Jackson Walker LLP as Co-
      Counsel and Conflicts Counsel for the Debtors and Debtors-in-
      Possession
43.   Sheridan Holding Company II, Dkt. No. 118, Amended Application        09/25/19
      of Debtors and Debtors-in-Possession to Retain Jackson Walker LLP
      as Co-Counsel and Conflicts Counsel for the Debtors and Debtors-
      in-Possession
44.   J.C. Penney Company, Dkt. No. 685, Application of Debtors and         06/11/20
      Debtors-in-Possession to Retain Jackson Walker LLP as Co-Counsel
      and Conflicts Counsel for the Debtors and Debtors-In-Possession
45.   McDermott International, Dkt. No. 428, Debtors’ Application for       02/19/20
      Entry of An Order Authorizing the Retention and Employment of
      Kirkland & Ellis LLP and Kirkland & Ellis International LLP as
      Attorneys for the Debtors and Debtors in Possession
46.   McDermott International, Dkt. No. 424, Application of Debtors and     02/19/20
      Debtors-in-Possession to Retain Jackson Walker LLP As Co-
      Counsel and Conflicts Counsel for the Debtors And Debtors-in-
      Possession
47.   Sheridan Holding Company I, Dkt. No. 130, Application of Debtors      04/02/20
      and Debtors-in-Possession to Retain Jackson Walker LLP as Co-
      Counsel and Conflicts Counsel for the Debtors and Debtors-in-
      Possession
48.   Whiting Petroleum Corporation, Dkt. No. 173, Application of           04/17/20
      Debtors and Debtors-in-Possession to Retain Jackson Walker LLP
      as Co-Counsel and Conflicts Counsel for the Debtors and Debtors-
      in-Possession
49.   Neiman Marcus Group Ltd., Dkt. No. 750, Application of Debtors        06/30/20
      and Debtors in Possession to Retain Jackson Walker LLP as Co-

                                          4
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 19 of 25




      Counsel and Conflicts Counsel for the Debtors and Debtors in
      Possession
50.   Stage Stores, Dkt. No. 385, Application of Debtors and Debtors-in-   06/04/20
      Possession to Retain Jackson Walker LLP as Co-Counsel and
      Conflicts Counsel for the Debtors and Debtors-in-Possession
51.   Ultra Petroleum Corp., Dkt. No. 195, Application of Debtors And      06/04/20
      Debtors-in-Possession to Retain Jackson Walker LLP As Co-
      Counsel and Conflicts Counsel for The Debtors And Debtors-in-
      Possession
52.   Hornbeck Offshore Services, Dkt. No. 132, Application of Debtors     06/01/20
      and Debtors In Possession to Retain Jackson Walker LLP as Co-
      Counsel and Conflicts Counsel for the Debtors and Debtors in
      Possession
53.   Chesapeake Energy Corporation, Dkt. No. 370, Application of          07/16/20
      Debtors and Debtors in Possession To Retain Jackson Walker LLP
      as Co-Counsel and Conflicts Counsel for the Debtors and Debtors in
      Possession
54.   Covia Holdings Corporation, Dkt. No. 195, Application of Debtors     07/21/20
      and Debtors-in-Possession to Retain Jackson Walker LLP as Co-
      Counsel and Conflicts Counsel for the Debtors and Debtors-in-
      Possession
55.   Bruin E&P Partners, Dkt. No. 143, Application of Debtors and         08/04/20
      Debtors-in-Possession to Retain Jackson Walker LLP as Co-Counsel
      and Conflicts Counsel or the Debtors and Debtors-in-Possession
56.   California Pizza Kitchen, Dkt. No. 297, Application of Debtors and   08/28/20
      Debtors in Possession to Retain Jackson Walker LLP as Co-Counsel
      and Conflicts Counsel for the Debtors and Debtors-in-Possession
57.   Mood Media Corporation, Dkt. No. 122, Application of Debtors and     08/14/20
      Debtors-in-Possession to Retain Jackson Walker LLP as Co-Counsel
      and Conflicts Counsel for the Debtors and Debtors-n-Possession
58.   Denbury Resources, Dkt. No. 238, Application of Debtors and          08/28/20
      Debtors-in-Possession to Retain Jackson Walker LLP as Co-Counsel
      and Conflicts Counsel for the Debtors and Debtors-in-Possession
59.   Tailored Brands, Dkt. No. 496, Application of Debtors and Debtors-   09/01/20
      in-Possession to Retain Jackson Walker LLP as Co-Counsel and
      Conflicts Counsel for the Debtors and Debtors-in-Possession
60.   Benevis Corp., Dkt. No. 176, Application of Debtors and Debtors-     09/01/20
      in-Possession to Retain Jackson Walker LLP as Counsel for the
      Debtors and Debtors-in-Possession
61.   Valaris PLC, Dkt. No. 207, Application of Debtors and Debtors-in-    09/15/20
      Possession to Retain Jackson Walker LLP as Co-Counsel and
      Conflicts Counsel for the Debtors and Debtors-in-Possession
62.   Arena Energy, LP, Dkt. No/ 147, Application of Debtors and           09/04/20
      Debtors-in-Possession to Retain Jackson Walker LLP as Co-Counsel
      and Conflicts Counsel For The Debtors And Debtors-in-Possession


                                         5
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 20 of 25



63.   iQor Holdings Inc., Dkt. No. 154, Application of Debtors and           09/28/20
      Debtors in Possession to Retain Jackson Walker LLP as Co-Counsel
      and Conflicts Counsel for the Debtors and Debtors in Possession
64.   Bouchard Transportation Co., Dkt. No. 173, Application of Debtors      10/28/20
      and Debtors-in-Possession to Retain Jackson Walker LLP as Co-
      Counsel and Conflicts Counsel for the Debtors and Debtors-in-
      Possession
65.   Oasis Petroleum Inc., Dkt. No. 207, Application of Debtors and         10/16/20
      Debtors-in-Possession to Retain Jackson Walker LLP as Co-Counsel
      and Conflicts Counsel for the Debtors and Debtors-in-Possession
66.   Gulfport Energy Corporation, Dkt. No. 390, Debtors’ Application        12/11/20
      for Entry of an Order Authorizing the Retention and Employment of
      Jackson Walker LLP as Co-Counsel and Conflicts Counsel
67.   Gulfport Energy Corporation, Dkt. No. 460, Debtors’ Application        12/17/20
      for Entry of an Order Authorizing the Retention and Employment of
      Kirkland & Ellis LLP and Kirkland & Ellis International LLP as
      Attorneys for the Debtors and Debtors in Possession Effective as of
      November 13, 2020
68.   Volusion, LLC, Dkt. No. 74, Application of Debtor-in-Possession to     08/26/20
      Employ Jackson Walker LLP as Counsel for the Debtor Effective as
      of the Petition Date
69.   Frontera Holdings, Dkt. No. 159, Debtors’ Application for Entry of     02/25/21
      an Order Authorizing the Retention and Employment of Jackson
      Walker LLP as Co-Counsel and Conflicts Counsel
70.   Seadrill Limited, Dkt. No. 250, Debtors’ Application for Entry of An   03/08/21
      Order Authorizing the Retention and Employment of Jackson
      Walker LLP as Co-Counsel and Conflicts Counsel
71.   Belk, Inc., Dkt. No. 154, Application of Reorganized Debtors to        03/08/21
      Retain Jackson Walker LLP as Co-Counsel and Conflicts Counsel
72.   Brilliant Energy, Dkt. No. 68, Application to Employ Jackson           04/13/21
      Walker LLP as Special Counsel Pursuant to 11 U.S.C. § 327
73.   Katerra Inc., Dkt. No. 289, Application to Retain Jackson Walker       06/29/21
      LLP as Co-Counsel and Conflicts Counsel for the Debtors and
      Debtors in Possession
74.   Washington Prime Group Inc., Dkt. No. 206, Debtors’ Application        07/01/21
      for Entry of an Order Authorizing the Retention and Employment of
      Kirkland & Ellis LLP and Kirkland & Ellis International LLP as
      Attorneys for the Debtors and Debtors in Possession Effective as of
      June 13, 2021
75.   Washington Prime Group Inc., Dkt. No. 208, Application to Retain       07/01/21
      Jackson Walker LLP as Co-Counsel and Conflicts Counsel for the
      Debtors and Debtors in Possession
76.   Basic Energy Services Inc., Dkt. No. 809, Debtors’ Application for     12/13/21
      Entry of an Order Authorizing the Retention and Employment of
      Jackson Walker LLP as Counsel to the Debtors


                                          6
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 21 of 25



77.   Carlson Travel, Inc., Dkt. No. 221, Reorganized Debtors’               12/07/21
      Application for Entry of an Order Authorizing the Retention and
      Employment of Jackson Walker LLP as Co-Counsel and Conflicts
      Counsel
78.   Strike, LLC, Dkt. No. 363, Application to Retain Jackson Walker        01/06/22
      LLP as Co-Counsel and Conflicts Counsel for the Debtors and
      Debtors in Possession
79.   4E Brands Northamerica LLC, Dkt. No. 72, Application to Retain         03/24/22
      Jackson Walker LLP as Counsel for the Debtor And Debtor-in-
      Possession
80.   Free Speech Systems LLC, Dkt. No. 230, Subchapter V Trustee’s          10/11/22
      Application to Retain Jackson Walker LLP
81.   Free Speech Systems LLC, Dkt. No. 265, Order Authorizing the           11/07/22
      Retention of Jackson Walker LLP as Counsel for the Subchapter V
      Trustee
82.   Seadrill New Finance Limited, Dkt. No. 92, Reorganized Debtors’        02/08/22
      Application for Entry of an Order Authorizing the Retention and
      Employment of Kirkland & Ellis LLP and Kirkland & Ellis
      International LLP as Attorneys for the Debtors and Debtors in
      Possession Effective as of January 11, 2022
83.   Seadrill New Finance Limited, Dkt. No. 94, Reorganized Debtors’        02/08/22
      Application for Entry of an Order Authorizing the Retention and
      Employment of Jackson Walker LLP as Co-Counsel and Conflicts
      Counsel
84.   Seadrill New Finance Limited, Dkt. No. 108, Order Granting the         03/11/22
      Reorganized Debtors’ Application for Entry of an Order Authorizing
      the Retention and Employment of Jackson Walker LLP as Co-
      Counsel and Conflicts Counsel
85.   Sungard As New Holdings, LLC, Dkt. No. 211, Application to Retain      05/10/22
      Jackson Walker LLP as Co-Counsel and Conflicts Counsel for the
      Debtors and Debtors in Possession
86.   Sungard As New Holdings, LLC, Dkt. No. 291, Order Authorizing          06/06/22
      the Retention and Employment of Jackson Walker LLP as Co-
      Counsel and Conflicts Counsel for the Debtors and Debtors in
      Possession
87.   GWG Holdings, Inc., Dkt. No. 267, Application to Retain Jackson        05/19/22
      Walker LLP as Co-Counsel and Conflicts Counsel for the Debtors
      and Debtors in Possession
88.   HONX Inc., Dkt. No. 128, Application to Employ Jackson Walker          05/31/22
      LLP as Co-Counsel and Conflicts Counsel for the Debtor and Debtor
      in Possession
89.   Laforta - Gestão E Investimentos, Dkt. No. 67, Application to Retain   07/15/22
      Jackson Walker LLP as Counsel for the Debtor and Debtor-in-
      Possession



                                          7
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 22 of 25



90.    Altera Infrastructure L.P, Dkt. No. 228, Application To Retain        09/12/22
       Jackson Walker LLP As Co-Counsel And Conflicts Counsel For The
       For The Debtors And Debtors In Possession
91.    Cineworld Group PLC, Dkt. No. 486, Application to Retain Jackson      10/05/22
       Walker LLP as Co-Counsel and Conflicts Counsel for the for the
       Debtors and Debtors-in-Possession
92.    Pipeline Health System, LLC, Dkt. No. 219, Application to Retain      10/20/22
       Jackson Walker LLP As Co-Counsel and Conflicts Counsel for the
       Debtors and Debtors-in-Possession
93.    Candy Club, LLC, Dkt. No. 107, Application to Retain Jackson          08/28/23
       Walker LLP as Counsel for the Debtors and Debtors in Possession
94.    Nautical Solutions, L.L.C., Dkt. No. 142, Application to Retain       01/27/23
       Jackson Walker LLP as Co-Counsel and Conflicts Counsel for the
       Debtors and Debtors-in-Possession
95.    IEH Auto Parts Holding LLC, Dkt. No. 181, Application to Retain       03/02/23
       Jackson Walker LLP as Counsel for the Debtors and Debtors in
       Possession
96.    IEH Auto Parts Holding LLC, Dkt. No. 183, Application to Retain       03/02/23
       the Law Office Of Liz Freeman, PLLC as Co-Counsel and Conflicts
       Counsel for the Debtors and Debtors in Possession
97.    Invacare Corporation, Dkt. No. 269, Application to Retain Jackson     03/02/23
       Walker LLP as Co-Counsel and Conflicts Counsel for the Debtors
       and Debtors-in-Possession
98.    Nielsen & Bainbridge, LLC, Dkt. No. 362, Order Authorizing the        04/13/23
       Retention and Employment of Kirkland & Ellis LLP and Kirkland &
       Ellis International LLP as Attorneys for the Debtors and Debtors in
       Possession Effective as of February 8, 2023
99.    Nielsen & Bainbridge, LLC, Dkt. No. 273, Application to Retain        03/10/23
       Jackson Walker LLP as Co-Counsel and Conflicts Counsel for the
       Debtors and Debtors-in-Possession
100.   Sorrento Therapeutics Inc, Dkt. No. 231, Application to Retain        03/15/23
       Jackson Walker LLP as Co-Counsel and Conflicts Counsel for the
       for the Debtors and Debtors-in-Possession
101.   Avaya Inc., Dkt. No. 293, Application to Retain Jackson Walker LLP    03/10/23
       as Co-Counsel and Conflicts Counsel for the Debtors and Debtors-
       in-Possession
102.   Loyalty Ventures Inc., Dkt. No. 175, Debtors’ Application to Retain   04/05/23
       and Employ Jackson Walker LLP as Co-Counsel and Conflicts
       Counsel
103.   Venator Materials PLC, Dkt. No. 227, Debtors’ Application to          06/14/23
       Retain and Employ Jackson Walker LLP as Co-Counsel and
       Conflicts Counsel
104.   MLCJR LLC, Dkt. No. 433, Debtors’ Application to Retain and           06/13/23
       Employ Jackson Walker LLP as Co-Counsel and Conflicts Counsel



                                           8
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 23 of 25



105. Envision Healthcare Corporation, Dkt. No. 330, Debtors’               06/14/23
     Application to Retain and Employ Jackson Walker LLP as Co-
     Counsel and Conflicts Counsel
106. Benefytt Technologies, Inc., Dkt. No. 249, Debtors’ Application to    06/22/23
     Retain and Employ Jackson Walker LLP as Co-Counsel and
     Conflicts Counsel
107. Qualtek Services Inc., Dkt. No. 215, Debtors’ Application to Retain   06/23/24
     and Employ Jackson Walker LLP as Co-Counsel and Conflicts
     Counsel
108. Diebold Holding Company, LLC, Dkt. No. 208, Debtors’                  07/03/23
     Application to Retain and Employ Jackson Walker LLP as Co-
     Counsel and Conflicts Counsel
109. Genesis Care Pty Limited, Dkt. No. 237, Debtors’ Application to       07/03/23
     Retain and Employ Jackson Walker LLP as Co-Counsel and
     Conflicts Counsel
110. Center for Autism and Related Disorders, LLC, Dkt. No. 197,           07/11/23
     Debtors’ Application to Retain and Employ Jackson Walker LLP as
     Co-Counsel and Conflicts Counsel
111. Surgalign Holdings, Inc., Dkt. No. 257, Debtors’ Application to       07/19/23
     Retain and Employ Jackson Walker LLP as Co-Counsel and
     Conflicts Counsel
112. AppHarvest Products, LLC, Dkt. No. 247, Debtors’ Application          08/21/23
     to Retain and Employ Jackson Walker LLP as Co-Counsel and
     Conflicts Counsel
113. Cóndor Inversiones SpA, Dkt. No. 141, Debtors’ Application to         09/11/23
     Retain and Employ Jackson Walker LLP as Co-Counsel and
     Conflicts Counsel
114. Soft Surroundings Holdings, LLC, Dkt. No. 188, Application to         10/11/23
     Retain the Law Office of Liz Freeman, PLLC as Co-Counsel and
     Conflicts Counsel for the Debtors and Debtors in Possession
115. Deposition Transcript of Chip Babcock and Exhibits
116. Deposition Transcript of Pat Cowlishaw and Exhibits
117. Deposition Transcript of William Jenkins and Exhibits
118. Deposition Transcript of Wade Cooper and Exhibits
119. Deposition Transcript of Ross Forbes and Exhibits
120. Deposition Transcript of Matt Cavenaugh and Exhibits
121. Deposition Transcript of Bruce Ruzinsky and Exhibits
122. Deposition Transcript of Anna Rotman and Exhibits
123. Deposition Transcript of Joshua Sussberg and Exhibits
124. Deposition Transcript of Elizabeth Freeman and Exhibits



                                         9
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 24 of 25



125. Jackson Walker 30b6 (Forbes) – Confidential
126. Jackson Walker 30b6 (Forbes)

127. Auto Plus Auto Sales, LLC, Dkt. No. 150, United States Trustee’s      07/01/24
     Reply to Jackson Walker LLP’s Response in Opposition to Motion
     for (1) Relief From Judgment Pursuant to Federal Rule of Civil
     Procedure 60(B)(6) and Federal Rule of Bankruptcy Procedure 9024
     Approving the Compensation Applications of Jackson Walker LLP,
     (2) Sanctions, And (3) Related Relief
128. Informal Interview of Elizabeth Freeman                               12/06/23
129. 4E Brands Northamerica, LLC, Dkt. No. 705, Jackson Walker LLP’s       08/12/24
     Sur-Reply In Support of its Opposition to the U.S. Trustee’s
     Amended and Supplemental Motion For (1) Relief Under Federal
     Rule of Civil Procedure 60(B)(6) and Federal Rule of Bankruptcy
     Procedure 9024 Approving the Retention and Compensation
     Applications of Jackson Walker LLP, (2) Sanctions, and (3) Related
     Relief [Relates To Dkt. Nos. 692 & 699]
130. JW_00000307-JW_00000316 – Email from Cavenaugh to Freeman             10/15/18
     & PDF of Expenses
131. JW_00000435-JW_00000441 – Email from Cowlishaw to Freeman             08/26/21
132. JW_00012070-JW_00012083
133. JW_00015883-JW_00015884
134. JW_00020335-JW_00020338
135. JW_00023522-JW_00023705 – Attorney Sourcebook
136. Letter to Jonathan Lipson                                             09/05/24
137. Bankruptcy Local Rules Effective January 28, 2020
138. Bankruptcy Local Rules Effective February 12, 2020
139. Bankruptcy Local Rules Effective December 1, 2015
140. Bankruptcy Local Rules Effective May 19, 2022
141. Application to Employ [Name Of Law Firm] as Special Litigation
     Counsel Pursuant to 11 U.S.C. § 328(A)
142. Ultra Petroleum Corp., Dkt. No. 192, Debtors’ Application for Entry   06/04/20
     Oof an Order Authorizing the Employment and Retention of Quinn
     Emanuel Urquhart & Sullivan, LLP as Special Counsel
143. Van Deelen v. Jones, et al, Memorandum Opinion & Order                08/16/24
144. Altera Infrastructure L.P., Dkt 229, Application for Order
     Authorizing the Retention of Quinn Emanuel Urquhart & Sullivan,
     LLP as Special Counsel
145. Exhibit A-1 USTP Identified Cases

                                         10
Case 23-00645 Document 574-2 Filed in TXSB on 01/30/25 Page 25 of 25
